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                                UNITED STATES BANKRUPTCY COURT
                                        DISTRICT OF UTAH



       In re:                                                                   Case No. 23−25897 PH
                Corbin William Archer and Lisa                                  Chapter 13
                Ann−Collet Archer
                             Debtor(s).




                                            ORDER OF DISMISSAL
             Based on Debtors Corbin William Archer and Lisa Ann−Collet Archer having failed to
       comply with one or more of the requirements of the U.S. Bankruptcy Code, the Federal Rules of
       Bankruptcy Procedure, and/or the Local Rules and notice having been properly given, THE COURT
       HEREBY ORDERS:

               Debtors Corbin William Archer and Lisa Ann−Collet Archer in the above−captioned case are
       dismissed without prejudice and, if there is no confirmed plan, the Trustee is directed to disburse all
       remaining funds on hand, if any, in compliance with Local Rule 2083−1(d)(9)(A). Attorney's fees in
       an amount up to $2,500.00 are awarded less any pre−petition retainer paid to debtor's counsel, which
       will be disbursed pursuant to Local Rule 2083−1(d)(9)(A); or

               If there is a confirmed plan, all funds in this case posted to the Trustee's account on or before
       the date of entry of this order shall be disbursed by the Trustee according to the terms of the
       confirmed plan. Funds received by the Trustee after the entry of this order shall be refunded to the
       debtor(s).

       Dated and Entered on: February 2, 2024




                                                            United States Bankruptcy Judge
